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                                        ORDERED.

      Dated: November 30, 2017




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov
IN RE:

CHARLES R. DOUGLAS and                                 Case No.: 6:12-bk-03664-CCJ
ROSEMARY A. DOUGLAS                                          Chapter 7

            Debtors.
____________________________________/
ARVIND MAHENDRU, as CHAPTER 7
TRUSTEE, and CHARLES R. DOUGLAS and
ROSEMARY A. DOUGLAS, DEBTORS
                                                       Adv. Proc. No. 6:17-ap-000117-CCJ
                Plaintiff,
vs.

RODD SUTTON,
            Defendant.
____________________________________/

                             PARTIAL DEFAULT FINAL JUDGMENT

         THIS CASE came before the Court upon the Plaintiff's Renewed Motion for Partial Default

Final Judgment (Doc. No. 14) against Defendant, RODD SUTTON, and the court being duly advised

in the premises, it is hereby

ORDERED AND ADJUDGED:

         1.     This Court has jurisdiction of the subject matter and the parties hereto pursuant to 28

U.S.C. §§ 157 and 1334.
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        2.      Judgment is entered in favor of the Plaintiff, ARVIND MAHENDRU, as CHAPTER

7 TRUSTEE, against the Defendant, RODD SUTTON.

        3.      The Certificate of Judgment for Lien docketed in the Summit County Judgment

Docket as Case Number JL-2013-3964 (the “Judgment Lien”), in favor of Rodd Sutton, Judgment

Creditor, and against, Rosemary A. Douglas and Charles Douglas, Judgment Debtors, rendered in

Case Number CV-2009-08-06421, in the Summit County Common Pleas Court, Summit County,

Ohio, in the amounts of $221,495.00 and $86,495.00 respectively, together with interest accruing

thereon at the rate of 3% per annum, is released and deemed void. The Judgment Lien, as of the date

of this Order, is no longer in force or effect.

        4.      If necessary, Defendant Sutton shall assist with the release of the Judgment Lien,

including the execution of any documents necessary to release the Judgment Lien.

        5.      Jurisdiction is retained to: (1) adjudicate the counts for damages; (2) determine

entitlement and amount of attorneys’ fees and costs; and (3) enter further orders that are necessary

to carry out the provisions of this Order.



Ryan E. Davis is directed to serve a copy of this Order on interested parties who are non-CM/ECF
users and file a proof of service within 3 days of entry of the Order.

via U.S. Mail to:
Rodd Sutton, 441 Stanford Street, Akron, OH 44314;
Charles R. Douglas, 3441 Dixon Lane, The Villages, Florida 32162;
Rosemary A. Douglas, 3441 Dixon Lane, The Villages, Florida 32162;

via CM/ECF to:
Ryan E. Davis, Esquire, PO Box 880, Winter Park, FL 32789 (Email: rdavis@whww.com);
Arvind Mahendru, Trustee, 5703 Red Bug Lake Road, Suite 284, Winter Springs, Florida 32708
(Email: amtrustee@gmail.com);
Larry D. Shenise, PO Box 471, Tallmadge, OH 44278 (Email: ldshenise@sheniselaw.com)
